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                                   UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

Case No: C-14-03264-JD IN RE CAPACITORS ANTITRUST LITIGATION
         MD-17-02801-JD In re Capacitors Antitrust Litigation (No. III)

                                                TRIAL SHEET

 JUDGE:                                  PLAINTIFFS:                       DEFENDANTS:
 Hon. James Donato                       Joseph Saveri, Christopher K.L.   Joseph J. Bial, Farrah R. Berse,
                                         Young, Anupama K. Reddy,          Roberto Finzi, David D. Cross,
                                         Steven Williams                   Bonnie Lau
 JURY TRIAL DATE:                        REPORTER(S):                      CLERK:
 March 16, 2020                          FTR: 8:48- 8:58                   Lisa R. Clark

 INTERPRETERS:
 Koko Peters/Cory Blandford


 PLF    DEF     TIME
 NO.    NO.     OFFERED ID REC DESCRIPTION                                                               BY
                               Court in session; out of the presence of the jury.
                8:48 a.m.      Court advises parties that in light of the current public
                               health situation, the trial is continued until April 6, 2020.
                8:58 a.m.      Court in recess.
